                     HEARING DATE AND TIME: April 29, 2014 at 9:45 a.m. (Eastern Time)
                                  OPPOSITION BRIEF DEADLINE: February 27, 2014

GIBSON, DUNN & CRUTCHER LLP
200 Park Avenue
New York, NY 10166-0193
(212) 351-4000
Kevin S. Rosen (pro hac vice to be filed)
Craig H. Millet (pro hac vice to be filed)
Matthew S. Kahn (MK-5426)
MKahn@gibsondunn.com

Attorneys for Defendant DLA Piper LLP (US)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                           Chapter 15 Case
In re:
                                                           Case No. 13-12116 (REG)
ICP STRATEGIC CREDIT INCOME FUND LTD., et al.,
                                                           (Jointly Administered)
                         Debtors in Foreign Proceedings.


ICP STRATEGIC CREDIT INCOME MASTER
FUND LTD., ICP STRATEGIC CREDIT INCOME
FUND LTD., and HUGH DICKSON and STEPHEN
AKERS, solely in their capacity as the Foreign
Representatives and Joint Official Liquidators of ICP      Adv. Pro. No. 14-01835 (REG)
Strategic Credit Income Fund Ltd. and ICP Strategic
Credit Income Master Fund Ltd.,                            (Procedurally Consolidated
                                                           Under This Matter)
                         Plaintiffs,
         -against-

DLA PIPER LLP (US),

                         Defendant.


                              REQUEST FOR JUDICIAL NOTICE




New York, New York
January 24, 2014
          Pursuant to Federal Rule of Evidence 201, made applicable here by Federal Rule of

Bankruptcy Procedure 9017, Defendant DLA Piper LLP (US) (“DLA”) respectfully requests that

the Court take judicial notice of true and correct copies of the following documents that are

attached to and authenticated in the attached Declaration of Matthew S. Kahn (“Kahn RJN

Decl.”):

          1.     Amended Complaint and Jury Demand, SEC v. ICP Asset Management, LLC et

al., No. 10-cv-4791 (LAK) (JCF) (S.D.N.Y. June 30, 2011) (Exhibit A to Kahn RJN Decl.).

          2.     Final Judgment as to Defendants Thomas C. Priore, ICP Asset Management LLC,

ICP Securities, LLC, and Institutional Credit Partners, LLC, SEC v. ICP Asset Management,

LLC et al., No. 10-cv-4791 (LAK) (JCF) (S.D.N.Y. Feb. 6, 2012) (Exhibit B to Kahn RJN

Decl.).

          3.     Complaint, ICP Strategic Credit Income Master Fund Ltd. et al. v. ICP Asset

Management LLC et al., Index No. 650385-2012 (Sup. Ct. N.Y. Cty. Feb. 8, 2012) (Exhibit C to

Kahn RJN Decl.).

I.        DISCUSSION

          Federal Rule of Evidence 201 allows a court to take judicial notice of a fact “not subject

to reasonable dispute [and] . . . capable of accurate and ready determination by resort to sources

whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). The Rule further states

that “[a] court shall take judicial notice if requested by a party and supplied with the necessary

information.” Id. at (d).

          All of the documents attached to the Kahn RJN Decl. are proper subjects of judicial

notice under Rule 201 because (1) these documents already are on file with this Court (see ECF




                                                   2
No. 4, Exs. E-F)1 and (2) they also are pleadings on file in other courts, namely, the United

States District Court for the Southern District of New York (Exhibits A & B to the Kahn RJN

Decl.) and the Supreme Court for the State of New York, New York County (Exhibit C to the

Kahn RJN Decl). See, e.g., Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d Cir. 1991)

(“[C]ourts routinely take judicial notice of documents filed in other courts . . . .”); In re Enron

Corp., 379 B.R. 425, 430 n.18 (Bankr. S.D.N.Y. 2007) (taking judicial notice of documents filed

with the court and other courts because “[j]udicial notice of public records such as court filings,

is clearly appropriate”) (citation omitted), motion to certify appeal denied, 2007 WL 2780394

(S.D.N.Y. Sept. 24, 2007).

II.      CONCLUSION

         Based on the foregoing, this Court can and should take judicial notice of Exhibits A

through C to the Kahn RJN Decl.




Dated: January 24, 2014

                                               GIBSON, DUNN & CRUTCHER LLP

                                               By: /s/ Matthew S. Kahn
                                                   Kevin S. Rosen (pro hac vice pending)
                                                   Craig H. Millet (pro hac vice pending)
                                                   Matthew S. Kahn (MK-5426)



                                               Attorneys for Defendant DLA Piper LLP (US)




 1 All references to “ECF” are to the ECF in the proceedings initiated by Plaintiffs in this Court
      pursuant to Chapter 15 of the United States Bankruptcy Code captioned In re ICP Strategic
      Credit Income Fund Ltd., et al., Case No. 13-12116-reg.
                                                  3
                  DECLARATION OF MATTHEW S. KAHN
    IN SUPPORT OF DLA PIPER LLP (US)’S REQUEST FOR JUDICIAL NOTICE

       I, MATTHEW S. KAHN, hereby declare under penalty of perjury pursuant to 28 U.S.C.

§ 1746 as follows:

       1.      I am an attorney licensed to practice in the State of New York and admitted to

practice before this Court. I am a partner with the law firm of Gibson, Dunn & Crutcher LLP,

counsel of record for Defendant DLA Piper LLP (US) in the above-captioned matter. I have

personal knowledge of the matters set forth in this Declaration and, if called upon to do so, I

could and would testify as follows:

       2.      Attached hereto as Exhibit “A” is a true and correct copy of the Amended

Complaint and Jury Demand filed in SEC v. ICP Asset Management, LLC et al., No. 10-cv-4791

(LAK) (JCF) (S.D.N.Y. June 30, 2011). At my direction, a copy of this document was

downloaded from this Court’s ECF system and a copy was attached to this Declaration.

       3.      Attached hereto as Exhibit “B” is a true and correct copy of the Final Judgment as

to Defendants Thomas C. Priore, ICP Asset Management LLC, ICP Securities, LLC, and

Institutional Credit Partners, LLC, entered in, SEC v. ICP Asset Management, LLC et al., No. 10-

cv-4791 (LAK) (JCF) (S.D.N.Y. Feb. 6, 2012). At my direction, a copy of this document was

downloaded from this Court’s ECF system and a copy was attached to this Declaration.

       4.      Attached hereto as Exhibit “C” is a true and correct copy of the Complaint filed in

ICP Strategic Credit Income Master Fund Ltd. et al. v. ICP Asset Management LLC et al., Index

No. 650385-2012 (Sup. Ct. N.Y. Cty. Feb. 8, 2012). At my direction, a copy of this document

was downloaded from this Court’s ECF system and a copy was attached to this Declaration.




                                                 4
       I declare under penalty of perjury that the foregoing is true and correct. Executed this

24th day of January 2014 in San Francisco, California.


                                                    /s/ Matthew S. Kahn

                                                               MATTHEW S. KAHN




                                                5
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